Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45

LOZe
Céeculyer
Prior Year
Current Month

 

Assets

Current Assets
Cash and Cash Equivalents

 

 

 

Petty Cash 400.00
Cash - Chase Bank 95,693.87
96,093.87
Accounts Receivable
Accounts Receivable 797,559.89
Allowance For Doubtful Account (60,000.00)
737,559.89
Other Receivables
Scrap Receivable 38,750.00
P/R Clearing-Carnishments 944.63
P/R-Temporary Holding Acct (2,445.43)
P/R Clearing-AFLAC-Life 47.40
P/R Clearing-AFLAC-Health (815.33)
P/R Clearing-Colonial Life 1,131.41
37,612.68
Finished Goods/WwIP Inventory
Finished Goods Inventory 5,373.00
Finished Goods - PP 75,511.00
Work-In-Process Inventory 975,121.00
Finished Goods Over Run Value 115,163.00

 

1, 171,168.00

 

Inventory

Multilayer Inventory 670,340.12
Laminate Inventory 71, 370.03
Photo Tooling Inventory 2,574.14
Dril] Room BU/E Inventory 24,609.81
Print Room Inverrtory 19,180.36
Plating Room Inventory 44,463.38
Screening Room Inventory 19,649.28
Routing Room Inventory 4,445.72
Plating Rm Inv-H&S Gold&Nick] 363,702.16
Plating Room Inv-Copper 27,936.08
Plating Inv- ENIG ' 38,319.01
Plating Room - Inv $i]ver 6,095.25
Plating Inv-Etching CSESA&DES) 6,410.95
Plating Tnv-HAL 5,521.24
Plating Inv-OSP 853.00
Plating Inv-Oxide 5,402.55
Plating Inv - PTH 19,417.03
Flex Material Inventory 62,070.69

1, 332,360.80

 

Total: Current Assets

3,374,795. 24

 

Other Assets
Prepaid Expenses

 

Transformer Power Qutage Costs 174,206.41
Prepaid and Deposits 289,346.00
Travelers Transformer Reimburs (364,795.63)
Transformer Consultant Reimbur 27,684.37

126,441.15

Land and Building

Land 186,000.00
Building 3,204,078.74
Land Improvements 21,227.00

Cannes }
Siren
‘ene

Accum Deprec - Building

Copyright © 1988 - 2021 Aptean

(1, 487 , 486.48)

Electrotek Corporation

Balance Sheet

ho ek Final

Page 1 of 7
ID: SPOON
F0367E Page: 1
01/20/2021 11:33:03 AM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page 2 of 7

Prior Year
Current Month

 

 

MBE /F&F
Machinery & Equipment
Furniture & Fixtures
Accum Deprec - M&E
Accum Deprec - F&F

1,923, 819.26

10,001, 399,10
662,733.11
(9,011, 805.37)
(662,733.11)

 

 

 

 

 

 

 

 

 

 

 

 

989,593.73
Total: Other Assets 3,039,854.14
Total: Assets 6,414, 649.38
Liabilities
Current Liabilities
Accounts Payable
Accounts Payable 2,662 ,007.81
Accrued Accounts Payable 163,895.45
Credit Card Accrued Payable 18,969.03
Account Payable - Checks Cut 171,643.13
Electro Plate 727,252.91
3,743, 768.33
Accrued Expenses - Other
Accrued Wages 9,620.37
Accrued Holiday Pay 12,613.11
Accrued Legal & Audit Fees 4, 248,10
Accrued FICA 735.94
Accrued Vacation Pay 165,585.26
Accrued Interest - Shareholder 731,294.00
924,096.78
Current Portion of LT Debt
Note Payable Insulectro 394,532.18
394,532.18
Total: Current LiabTlittes 5,062, 397.29
Long-Term Liabilities
Long Term Debt
Texas Champion Bank - PPP 1,3416,935.71
Shareholder Loan - Chase 300,00
Shareholder Note #1 1,100,000,00
Shareholder Note #2 5,235,000. 00
Intercompany - Electraptate 65,000.00
7,717 ,235.71
Total: Long-Term Liabilities 7,717 ,235.71

 

 

Tatal: Liabilities

12, 779,633.00

 

Shareholders Equity
Shareholders Equity
Common Stock

 

Common Stack - Class A 33,872.31
33,872.31

Additional Paid In Capital
Paid-In-Capital 3,674, 866.90

 

Copyright © 1988 - 2021 Aptean

 

Electrotek Corporation

Baiance Sheet

ID: SPOON
FO367E Page: 2
01/20/2021 11:33:03 AM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page 3 of 7

Prior Year
Current Month

 

Retained Earnings-Current Year

MLB - Returns & Allowances
Expedited Material Fxpense
Freight-Ourt

Sales Commissions Expense
Sales Discounts

Drilling Spindtes

Drilling Machine Parts
Other Drilling R&

Dry Film Laminator

VO! Developer

Dry Film Solder Mask Unit
Cut Sheet Laminator

Other Printing R&M

PTH Plating Line

Desmear Line

Deep Nickel Tank

M.E. Baker Copper Line
Chemcut Dry Film Stripper
Chemcut Dry Rinse (Autocapper)
Horizontal HAL

HAL PreCiean

HAL PostCTean

Chemcut Chemical Clean
Marseco Deburring Equipment
OSP Line

Other Plating Room R&M
Aluminum Chia Reactor
Other Waste Treatment R&M
TC120 Tunnel Oven

Screen Making Exposure Unit
Screen Reclaiming Booths
Other Screening Room R&M
Batch Oven

Union Carbide Photocure System
Pumice Scrubber

Other PISM R&

Routing Spindles

Routing Machine Parts

Fab Dust Collector

Other Routing Room R&
Accuscore Scoring Machine
Score Blades

Dry Lab Inspection Equipment
Cyclops Unit

Tools

Supplies

Electrical Suppijes
Piumbing Suppties
Janitorial Supplies

Trash Disposal

Grounds Upkeep
Housekeeping

Other Maintenance Expense
Licenses & Fees

Waste Recovery

Copper Recycle

Electric

Gas

Water

Sewer

Real Estate Tax
Depreciation

Selling Salaries

Copyright © 1988 - 2021 Aptean

3,674, 866.90

(1,138,214.
(1,388.
(99,083.
(12,2122.

97)
13)
89)
03)

7,392.61

(30,991.
(3,499.
(1,009.
(2,628,
(2,798,

(276.
(9,510,
(1,865.

(10,313.
(1,610.
(2, 220.

(14,527.
(3,887.
(1,548.

(12,046.
(2,882.
(7,678.
(1,444,

(14,099.

8.

(12,026.

(1,601.
(441.
(1,390.
cs11.
G60.
@ 042.
(525.
(184.
(8,750.
(1,719.

(18,230.

(4,603.
G1.
054,

(2,895

(1,648.

(735.
(134.

(2,542.

7,164.

(1,303.

(1,072.

(16,997.

(20,851.

(14,419.

(41,850.
(6,539.
(7,974

08)
39)
24)
03)
19)
97)
07)
93)
51)
22)
76)
45)
68)
00)
87)
10)
08)
00)
86)
00)
50)
61)
43)
00)
00)
78)
00)
58)
60)
58)
10)
99)
74)
65)
$1)

+00)

00)
32)
00)
03)
74)
14)
72)
91)
44)
03)
00)
38)

.25)
(102 , 239.

(46.
(568,615.
(14,519.
(154, 366.
(112,014.
(40,701.
(556,084.
(167,016.

67)
92)
14)
10)
0g)
04)
70)
80)
97)

Electrotek Corporation

Balance Sheet

ID: SPOON
FO387E Page: 3
01/20/2021 11:33:03 AM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page4of7

Prior Year
Current Month

 

Clamnes ;
yarn
. —

Fringe Benefits

Meals & Entertainment
Adwinistrative Salaries
Accounting Salaries
MIS Salaries

OA Salaries

Fringe Benefits
Vacation

Holiday Pay

FICA - Employer

UC - Federal
UC - State
Life AD&D

LTD Premiums

Section 125 Plan W/H

Cost of Health Insurance
Insurance Fees From Enployees
Worker's Compensation
401k Company Match

Fringe Benefit Offset
Copier Lease

Copier Maintenance
Copier Supplies
Telephone Expense - G & A
Business Forms

Postage

Postage Meter Rental
Gther Office Supplies

MIS Software

MIS Hardware

MIS Supplies

MIS Repairs & Maintenance
MIS Subscriptions

Payroll - ADP

Audit & Tax Service
Parties & Events
Recruitment Advertising
Drug Testing

Other Human Resources Expense
Lega? Fees

Seminar & Courses
Professional Memberships
Technical Library Materials
Subscriptions

Travel

Meals & Entertainment
Consulting

Charitable Donations

Key Man Life Insurance
Business Insurance

Use Tax Expense

Ts0 9002/459100

Other Administrative Costs
Bad Debt Expense

Other G&A Expense

P.ALR.

Direct Labor

O/L - Plating

O/L - Die Blanking

Film Purchases
Multilayer Purchases
Laminate Purchases

BU/E Purchases - Dril] Room
Drill Bit Purchases

Drill Bit Resharpening

Copyright © 1988 - 2021 Aptean

(40, 104

(18.

(340,735

(201,906.
(87,043.
(227 383.
(127,821.
(244,144,
(33, 388.
(280,681,
(4,499.
(28,028.
(5,960,
(19,575.
(67.
(427,506.

44)
75)
Al)
54)
99)
ayy
73)
97)
24)
18)
44)
7
69)
38)
04)
57)

235,541.10

(27,921
(6,402

42)
26)

817,194.00

(16,143.

(1,382

(3, 287.
(10,520.
(1,719.
(1, 826.

(937.
(7,066.
(44,204.
(5,758,

(10,111.
(21, 442

G,414.
(23,927.
(36,759,

(3, 367.

(7,765

(2,446.
(3,004,
(51, 980.

(1,975

(5,186.
(1,493,
27.
(9,454.
(1,264.
(29,936.
(2,500.
(5,838.
(46,542.
(886.

(13,715

(46,049.
(3,499.
(500.

(77.
(1,629,821,
(355.
(34,772.
(33,558.
(1,561,284.
(120,926.
(169,543.
(67,885.
(25,671.

99)
.73
79)
78)
04)
72)
50)
63)
84)
90)
.09)
.999
00)
30)
68)
ib
20)
50}
17)
52)
.00)
00)
00)
60)
44)
31)
34)
00)
27)
53)
16)
00)
4)
20)
00)
68)
66)
00)
30)
34)
86)
44)
20)
62)
04)

Electrotek Corporation

Balance Sheet

ID: SPOON
F0367E Page: 4
01/20/2021 11:33:03 AM

Paradigr® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page5of7

 

Electrotek Corporation ID: SPOON

FO367E Page: 5

Balance Sheet 01/20/2021 11:33:03 AM
Prior Year
Current Month
Collet Purchases (3,663.39)
Dry Film Purchases (179,566.71)
Plating - Hard & Soft Gold (214 , 667.54)
Plating - Copper (161,879.79)
Plating - ENIG (307, 827.18)
Plating - Misc. (Reclaim, etc) (82,789.14)
Plating - Etching SES & DES (56, 684.27)
Plating ~ PTH (136,680.27)
Screening Ink Purchases (183, 263.49)
PISM Inks Purchases G,570.00)
BU/E Purchases - Routing Room (21,743.36)
Router Bit Purchases (25,830.00)
Router Collet Purchases (550.00)
Overtime Premium (1?2 773.93)
Fringe - Direct Labor (398,838.57)
Health & Safety (70,033.36)
Production Support & Suprvsn (578,958.09)
Materials Management (93,489.66)
Engineering (222 971.43)
Maintenance (228,816.88
Fringe Benefits (250,429.26)
Photo Supplies (16, 323.103
Multilayer Supplies (39, 371.313
Drill Room Supplies (22,753.64)
Print Room Supplies (6,056.59)
Piating Room Supplies (72,077.81)
Screening Room Supplies (49, 171,68}
PISM Room Supplies (13,071.69)
Routing Room Supoties (4,139.11)
Shipping Supplies (31,006.77)
P.A.R. Supplies (1,374,823
Quality A/C Supplies (111,085.83)
Quality Control - Plug Gauges (931.80)
Electrical Test Supplies (13, 222.56)
Waste Treatment Supplies (39,022.19)
Wet Lab Supplies (37,219.77)
Other Production Supplies (74,167.64)
Drill Room Equipment (2,340.27)
Plating Reom Equipment (710.92)
Screening Room Equipment (284.20)
Routing Room Equipment (1,401,083)
Other Equipment (2,073.97)
Travel @.98)
Meals & Entertainment (71.28)
Uniforms - Cintas (28,911.69)
Uniforms - Other (859.49)
Licenses & Fees (10,189.47)
Shop Forms (280.78)
Production Telephone (979.78)
LDI #2 Maintenance (7,222.00)
Polar Maintenance (37.38)
Genisis Maintenance Contract (28, 880.50)
Q/C Callibration (38,814.03)
Celtic CML-3691401 Lease (26, 760.00)
Celtic OML-3691402 lease (30,936.00)
Tetra Financial Group lease (227 , 849.38)
Other Production Expense (16,515.40)
Air Compressors (12 , 856.00)
HVAC System South Plant (12,539.62)
HVAC System North Plant (2,932.67)
Waste Treatment System (38,98)
Other Building R & M (36,710.06)
Other Tooling R&M (201.00)
Brown Oxide Line (66.42)
TMP Multilayer Press #1 (2,631.65)

CS~ Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page 6 of 7

 

Electrotek Corporation ID: SPOON

FO367E Page: 6

Balance Sheet 01/20/2021 11:33:03 AM
Prior Year
Current Month
Other Multilayer R&M (3,108.68)
EX200 Dri¥i (2,097.46)
CNCS5-B Drill (S/N 0017) (4,849.27)
CNCS-C Drill (S/N 773) Leased (725.00)
Interest - Inswlectro (17, 350.09)
Mark VI Drill (S/N 6612) (137.88)
Celtic OML-3691A03 lease (35,508.00)
CimNet Software Maint Contract (46,407.14)
MLB - Sales 9,269, 531.60
MLB - Tooling 44,325.00
MLB - WIP Variance (120,177.06)
DS - Sales 2,341,616.95
DS - Tooling 4,225.00
DS - WIP Variation (61,598.30)
5S - Sales 500.00
Piotter (58.00)
Component costs on returns G3 247,45)
Sales Tax (20,527.85)
Pluritec X-Ray Gril] (5,255.74)
Freight-In (177 , 370.49)
20 Ton Chiller (4,631.80)
Fab Arco Wand Dust Collector (1,207.47)
Processor (163.00)
Plating - Inversion Silver (22,846.93)
Safety Shoes & Glasses (795.00)
MLB - Testing 7,260.00
DS - Testing 1,200.00
SS - Testing 575.00
ECSO Pay (4,200.00)
TMP Multilayer Press #2 (3,935.09)
GSS - Sales 2,464.72
GSS - Returns & Allowances (1, 376.00)
Freight-Petroleum Surcharge (5,001.55)
Freight-Hazardous Fee @, 381.56)
Freight-Handling Charge (1, 532.70)
Freight In - China (8,379.70)
GSS- Outside Purchased Product (4,478.00)
Freight out - China (418.74)
ENEG Line (16, 354.08)
Tariff charges (3,870.23)
Freight in - Malaysia (1,246.80)
Freight out - Malasyia (541. 38)
AOI Supplies (683.14)
LDI Maintenance Agreemnt (155,778.00)
Interest Exp - Shareholder (627,869.00)
In-House Consignment Core (2,447.79)
O/L - Tensil Strength-Elang. (6,500.00)
Freight In - Mexico (180,32)
Freight out - Canada (55.26)
First Business Bank Fees (6,803.74)
Cast of Dental Insurance (31,564.68)
689 Drill (S/N 9014) 3,964.58)
689 Drill (S/N 9016 (12,979.76)
DES Line (14,156.44)
Outside Service - Engineering (5,220.00)
Med Ded Reimbursement Admin 966.75
Health Cost ~- Diversified (1,943.20)
Via Fill (46,824.44)
Outside Service-Miscellaneous 97.00
Outside Service - Inspection (183,621.00)
HVAC System West (5,020.29)
Drake Chilier (4,958.42)
Cujligan RO/DI System (37,127.07)
25 HP Dust Collector (240,15)
OLEC AT-30 (6KW} (3,941,505

witwes’ Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 8 Filed 03/12/21 Entered 03/12/21 14:43:45 Page 7 of 7

Electrotek Corporation ID: SPOON
F0367E Page: 7
Balance Sheet 01/20/2021 11:33:03 AM

Prior Year
Current Month

 

Chemcut Dry Rinse (PTH) {110.00}
DP1500 Screen Press (8,043.61)
OLEC AT-30 (8K) (7,013.66)
EMMA #1 (s/n £8176500) (78.00)
EMMA #2 (s/n EA276500) (233.15)
EMMA #3 (s/n FA056400) (2,250.00)
A,O.I. Discovery 1 (7,116.50)
A.O.1. Discovery 2 (509.88)
Orbotech Sprint 8 Legend Ink (3,047.46)
Mark VI CNC-6 Router(s/n 0151) (1,508.65)
Pi11 CobraBond Oxide Line 952 (2,851.82)
Orbotech Laser Direct Imager (34.72)
Viafi1t/Planerizer/Rinsedry (1,435.19)
C-II Vacuum Packaging Machine (200.00)
Kuttler Equipment (3.99)
Freight In - Canada (6,578.82)
Atotech Developer (1,569.47)
Freight In - Germany (1,514.05)
Plating - HAL (33,555.94)
Plating - OSP (6,574.60)
Plating - Oxide (32,070.24)
Etch/Tin Strip Line (ME Baker) (17,265.83)
QC Qutside Testing (10,312.00)
March Plasma Unit (2,448.56)
Flex Material Purchases (271,867.25)
First American Equipment Tease (10,249.70)
O/L Viafill (7,849.72)
EMMA #4 (100.00)
Direct Metalization (350.95)
Celtic GML-3691A04 Lease (85,950.15)
Alliance Lease (100,849.29)
DES Line (s/n CC450-30) (5,397.68)

Vertical HAL (235.00)

 

€3,492,053.57)
Retained Earnings-Prior Year
Retained Earnings C1, 804,998.27)

 

CL, 804,998.27)
Tax Distributions
Tax Dividend Distributions (4,796, 836.01)

 

(4,796, 836.01)

 

 

 

Total: Shareholders Equity (6, 385,148.64)
Total: Liabilities &
Shareholders Equity 6, 394,484.36

 

es

: me? Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 

 
